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   7                       UNITED STATES DISTRICT COURT
   8                      CENTRAL DISTRICT OF CALIFORNIA
   9                               WESTERN DIVISION
  10
  11 SEAN HALL, etc., et al.,                ) Case No. 2:17−cv−06882 MWF (ASx)
  12                                         )
             Plaintiffs,                     ) ORDER   DISMISSING ACTION WITH
  13                                           PREJUDICE
            vs.                              )
                                             )
  14 TAYLOR SWIFT, etc., et al.,             )
  15                                         )
             Defendants.                     )
  16                                         )
                                             )
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  19        Pursuant to the parties’ Stipulation, this action is hereby dismissed, in its
  20 entirety and with prejudice, Plaintiffs and Defendants to bear their respective
  21 attorney’s fees and costs.
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  23   Dated: December 12, 2022            ___________________________________
  24                                            MICHAEL W. FITZGERALD
                                                 United States District Judge
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